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 4
     Attorney for Defendant
 5
     CORY WHALEN
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR-S-08-0318 LKK
                                                      )
10
                                                      )
            Plaintiff,                                )       ORDER RE DEFENDANT’S WAIVER OF
11
                                                      )       APPEARANCE
     v.                                               )
12
                                                      )
     CORY WHALEN,                                     )
13
                                                      )       Judge: Lawrence K. Karlton
                                                      )
14          Defendant.                                )
                                                      )
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                                                      )
                                                      )
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18
            Pursuant to Fed.R.Crim.P. 43, defendant, CORY WHALEN, hereby waives the right to
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     be present in person in open court upon the hearing of any motion or other proceeding in this
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     case, including, but not limited to, when the case is set for trial, when a continuance is ordered,
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     and when other action is taken by the Court before or after trial, except upon arraignment, initial
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     appearance, trial confirmation hearing, entry of plea, and every stage of trial including verdict,
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     impanelment of jury and imposition of sentence.
24
            Defendant hereby requests the Court to proceed during every absence of his which the
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     Court may permit pursuant to this waiver and agrees that his interests will be deemed represented
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     at all times by the presence of his attorney, the same as if the defendant were personally present.
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     Defendant further agrees to be present in Court ready for trial any day and hour the Court may
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     fix in his absence.


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 1          The defendant further acknowledges that he has been informed of his rights under Title
 2   18 U.S.C§§3161-3174 (The Speedy Trial Act) and authorizes her attorney to set times and delays
 3   without his personal appearance.
 4

 5   Dated: March 17, 2009
 6

 7                                                      __________________________
                                                        CORY WHALEN
 8
                                                        (Original retained by attorney)
 9

10
            I concur in Mr. Whalen’s decision to waive his presence at future proceedings.
11

12
     Dated: March 17, 2009                              Respectfully submitted,
13

14
                                                        ___________________________
15                                                      JOHN R. MANNING
                                                        Attorney at Law
16
                                                        Attorney for Defendant
17                                                      CORY WHALEN

18

19   IT IS SO ORDERED,
     Dated: March 23, 2009
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